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EXHIBIT C
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D&B Company Profile
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Qrg Bioscience LLC
455 Science Dr Ste 102
Madison WI 53711

D&B D-U-N-S Number: 192740962

Phone: 6082332475
County: DANE
Metropolitan Statistical Area: Madison, WI

Year Started: 0

Annual Sales: $ 96000 (Last Revision )
Base Sales: $ 96000

Trend Sales: $ 0

Sales Growth: 0

Net Worth: $ 0

Number of Employees here: 1
Number of Employees total: 1

Square Footage: 0
Business: WHOLESALE TRADE - NONDURABLE GOODS

Primary SIC:
5122, DRUGS, PROPRIETARIES, AND SUNDRIES

This Company is a:

Smail Business

Officers and Executives: .
Member : Mark Underwood, Member <a

CUSTOMER SERVICE
If you need any additional information, or have any questions regarding this

report, please call our Customer Service Center at (800) 234-3867 from anywhere
within the U.S. From outside the U.S.,please call your local D&B office.

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